Case 19-33567-SLM            Doc 6 Filed 12/22/19 Entered 12/23/19 00:43:04                    Desc Imaged
                                  Certificate of Notice Page 1 of 3




81,7('67$7(6%$1.5837&<&2857                                            Order Filed on December 20, 2019
',675,&72)1(:-(56(<                                                    by Clerk,
                                                                          U.S. Bankruptcy Court
                                                                          District of New Jersey



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                                                                                        19-33567 (SLM)

James A. Gilmartin                                        +HDULQJ'DWHBBBBBBBBBBBBBBBBBBBB

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                                                                                          Stacey L. Meisel




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     DATED: December 20, 2019
Case 19-33567-SLM        Doc 6 Filed 12/22/19 Entered 12/23/19 00:43:04           Desc Imaged
                              Certificate of Notice Page 2 of 3


   &DVHQR 19-33567 (SLM)                                                       3DJH
   'HEWRU      James A. Gilmartin



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         James A. Gilmartin              07/10/2019

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                                         19-23492 (SLM)

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        Case 19-33567-SLM               Doc 6 Filed 12/22/19 Entered 12/23/19 00:43:04                              Desc Imaged
                                             Certificate of Notice Page 3 of 3
                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 19-33567-SLM
James A. Gilmartin                                                                                         Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0312-2                  User: admin                        Page 1 of 1                          Date Rcvd: Dec 20, 2019
                                      Form ID: pdf903                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 22, 2019.
db             +James A. Gilmartin,   131 Rock Road,   Glen Rock, NJ 07452-2051

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 22, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 20, 2019 at the address(es) listed below:
              John P. Fazzio   on behalf of Debtor James A. Gilmartin jfazzio@fazziolaw.com,
              U.S. Trustee   USTPRegion03.NE.ECF@usdoj.gov
                                                                                             TOTAL: 2
